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 6 Attorneys for Defendants X CORP.

 7
                       UNITED STATES DISTRICT COURT
 8                FOR THE EASTERN DISTRICT OF WASHINGTON

 9 ARNAUD WEBER,                               Case No. 2:23-cv-00233-TOR
                   Plaintiff,                   DECLARATION OF ERIC
10
          v.                                    MECKLEY IN SUPPORT OF
11                                              DEFENDANT X CORP.’S MOTION
     X CORP. and JOHN/JANE DOES I-V,            TO COMPEL ARBITRATION
12                 Defendants.
                                                December 14, 2023
13                                              Without Oral Argument

14

15

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20
                                                                     MORGAN, LEWIS & BOCKIUS LLP
     DECLARATION OF ERIC MECKLEY                                            Attorneys at Law
     ISO DEFENDANT'S MOTION TO
21   COMPEL ARBITRATION
                                                                      1301 Second Ave., Suite 2800
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 1                       DECLARATION OF ERIC MECKLEY

 2         I, Eric Meckley, declare under the penalty of perjury under the laws of the

 3 United States of America, pursuant to 28 U.S.C. § 1746, that the following is true

 4 and correct:

 5         1.      I am an attorney duly licensed to practice law in the state of

 6 California. I am an attorney with the law firm of Morgan, Lewis & Bockius LLP,

 7 and am counsel for counsel for Defendant X Corp. (formerly known as and

 8 successor in interest to Twitter, Inc.) in the above-captioned matter. I submit this

 9 Declaration in support of Defendant’s Motion to Compel Arbitration. I have

10 personal knowledge of the facts stated in this Declaration and could testify

11 competently to them if asked to do so.

12         2.     I printed a copy of the JAMS Employment Arbitration Rules &

13 Procedures from JAMS’ website on November 10, 2023 at

14 https://www.jamsadr.com/files/Uploads/Documents/JAMS-

15 Rules/JAMS_employment_arbitration_rules-2021.pdf. Attached hereto as Exhibit

16 A is a true and correct copy of the JAMS Employment Arbitration Rules &

17 Procedures as printed on November 10, 2023.

18         3.     A party seeking to submit a new arbitration demand with JAMS can

19 do so by visiting JAMS website and clicking “Submit a Case” and selecting

20
     DECLARATION OF ERIC MECKLEY                                       MORGAN, LEWIS & BOCKIUS LLP
                                                                              Attorneys at Law
     ISO DEFENDANT'S MOTION TO
21   COMPEL ARBITRATION - 1
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 1   “Arbitration.” See https://www.jamsadr.com/submit/. After signing in, the party

 2   will see a blank/template JAMS Arbitration Demand that can be completed and

 3   submitted either electronically or in paper copy. On November 10, 2023, my

 4   office obtained from JAMS Senior Case Manager Michele Wilson a copy of the

 5   JAMS Arbitration Demand form, a true and correct copy of which is attached

 6   hereto as Exhibit B.

 7         I declare under penalty of perjury under the laws of the United States of

 8   America that the foregoing is true and correct. Signed on November 14, 2023, in

 9   San Francisco, California.

10

11

12                                                ______________________
                                                  Eric Meckley
13

14

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20
     DECLARATION OF ERIC MECKLEY                                      MORGAN, LEWIS & BOCKIUS LLP
                                                                             Attorneys at Law
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21   COMPEL ARBITRATION - 2
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      JAMS
  Employment
Arbitration Rules
 & Procedures
    Effective June 1, 2021




                          Local Solutions. Global Reach.
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                           JAMS Employment
                     Arbitration Rules & Procedures
Founded in 1979, JAMS is the largest private provider of             Effective June 1, 2021, these updated Rules reflect the
alternative dispute resolution (ADR) services worldwide.             latest developments in arbitration. They make explicit
Our neutrals resolve some of the world’s largest, most complex       the arbitrator’s full authority to conduct hearings in person,
and contentious disputes, utilizing JAMS Rules & Procedures          virtually or in a combined form, and with participants in more
as well as the rules of other domestic and international arbitral    than one geographic location. They also update electronic
institutions.                                                        filing processes to coordinate with JAMS Access, our secure,
                                                                     online case management platform.
JAMS mediators and arbitrators are full-time neutrals who
come from the ranks of retired state and federal judges and
prominent attorneys. These highly trained, experienced ADR                                   Summary of Revisions to
professionals are dedicated to the highest ethical standards                                 the Employment Rules
of conduct. Whether they are conducting in-person, remote                                    Scan this code with your smartphone
or hybrid hearings, JAMS neutrals are adept at managing the                                  for a complete list of all changes.
resolution process.




                 Additional Employment Arbitration Resources
                         JAMS Employment Arbitration                                         Sample Employment
                         Minimum Standards                                                   Contract Clauses
                         Scan for our policy on the use of                                   Scan for guidance on drafting an
                         arbitration for resolving employment-                               employment dispute resolution program
                         related disputes.                                                   and contract clause language.




                         JAMS Employment                                                     Virtual & Hybrid ADR
                         Practice Group                                                      Scan to learn about our concierge-level
                         Scan to learn more about our                                        client services, including Virtual ADR
                         experienced employment neutrals.                                    Moderators and premium technology.




                                         jamsadr.com • 800.352.5267
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    NOTICE: These Rules are the copyrighted property of JAMS. They            Standards of Procedural Fairness and Rules 15(i), 30 and 31).
    cannot be copied, reprinted or used in any way without permission         The Parties shall promptly notify JAMS of any such Party-agreed
    of JAMS, unless they are being used by the parties to an arbitration      procedures and shall confirm such procedures in writing. The
    as the rules for that arbitration. If they are being used as the rules    Party-agreed procedures shall be enforceable as if contained
    for an arbitration, proper attribution must be given to JAMS. If you      in these Rules.
    wish to obtain permission to use our copyrighted materials, please
    contact JAMS at 949.224.1810.                                             (b) When an Arbitration Agreement provides that the
                                                                              Arbitration will be non-administered or administered by an
    RULE 1                                                                    entity other than JAMS and/or conducted in accordance
                                                                              with rules other than JAMS Rules, the Parties may agree to
    Scope of Rules                                                            modify that Agreement to provide that the Arbitration will be
    (a) The JAMS Employment Arbitration Rules and Procedures                  administered by JAMS and/or conducted in accordance with
    (“Rules”) govern binding Arbitrations of disputes or claims that          JAMS Rules.
    are administered by JAMS and in which the Parties agree to
    use these Rules or, in the absence of such agreement, the                 RULE 3
    disputes or claims are employment-related, unless other Rules
    are prescribed.
                                                                              Amendment of Rules
                                                                              JAMS may amend these Rules without notice. The Rules in
    (b) The Parties shall be deemed to have made these                        effect on the date of the commencement of an Arbitration (as
    Rules a part of their Arbitration Agreement (“Agreement”)                 defined in Rule 5) shall apply to that Arbitration, unless the
    whenever they have provided for Arbitration by JAMS under its             Parties have agreed upon another version of the Rules.
    Employment Rules or for Arbitration by JAMS without specifying
    any particular JAMS Rules and the disputes or claims meet the
    criteria of the first paragraph of this Rule.
                                                                              RULE 4
                                                                              Conflict with Law
    (c) The authority and duties of JAMS as prescribed in the
                                                                              If any of these Rules, or modification of these Rules agreed to
    Agreement of the Parties and in these Rules shall be carried
                                                                              by the Parties, is determined to be in conflict with a provision
    out by the JAMS National Arbitration Committee (“NAC”) or the
                                                                              of applicable law, the provision of law will govern over the Rule
    office of JAMS General Counsel or their designees.
                                                                              in conflict, and no other Rule will be affected.
    (d) JAMS may, in its discretion, assign the administration of an
    Arbitration to any of its Resolution Centers.                             RULE 5
    (e) The term “Party” as used in these Rules includes Parties to           Commencing an Arbitration
    the Arbitration and their counsel or representatives.                     (a) The Arbitration is deemed commenced when JAMS issues
                                                                              a Commencement Letter based upon the existence of one of
    (f) “Electronic filing” (e-filing) means the electronic
                                                                              the following:
    transmission of documents to JAMS for the purpose of filing
    via the Internet. “Electronic service” (e-service) means the                  (i) A post-dispute Arbitration Agreement fully executed
    electronic transmission of documents to a party, attorney or              by all Parties specifying JAMS administration or use of any
    representative under these Rules.                                         JAMS Rules; or
                                                                                   (ii) A pre-dispute written contractual provision requiring
    RULE 2                                                                    the Parties to arbitrate the employment dispute or claim and
                                                                              specifying JAMS administration or use of any JAMS Rules or
    Party Self-Determination
                                                                              that the Parties agree shall be administered by JAMS; or
    (a) The Parties may agree on any procedures not specified
                                                                                   (iii) A written confirmation of an oral agreement of all
    herein or in lieu of these Rules that are consistent with the
                                                                              Parties to participate in an Arbitration administered by JAMS or
    applicable law and JAMS policies (including, without limitation,
                                                                              conducted pursuant to any JAMS Rules; or
    the JAMS Policy on Employment Arbitration Minimum
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     (iv) The Respondent’s failure to timely object to JAMS         (c) If, at any time, any Party has failed to pay fees or expenses
administration, where the Parties’ Arbitration Agreement does       in full, JAMS may order the suspension or termination of
not specify JAMS administration or JAMS Rules; or                   the proceedings. JAMS may so inform the Parties in order
   (v) A copy of a court order compelling Arbitration at            that one of them may advance the required payment. If one
JAMS.                                                               Party advances the payment owed by a non-paying Party, the
                                                                    Arbitration shall proceed, and the Arbitrator may allocate the
(b) The issuance of the Commencement Letter confirms that           non-paying Party’s share of such costs, in accordance with
requirements for commencement have been met, that JAMS              Rules 24(f) and 31(c). An administrative suspension shall toll
has received all payments required under the applicable             any other time limits contained in these Rules or the Parties’
fee schedule and that the Claimant has provided JAMS with           Agreement.
contact information for all Parties together with evidence that
the Demand for Arbitration has been served on all Parties.          (d) JAMS does not maintain an official record of documents
                                                                    filed in the Arbitration. If the Parties wish to have any documents
(c) If a Party that is obligated to arbitrate in accordance with    returned to them, they must advise JAMS in writing within
subparagraph (a) of this Rule fails to agree to participate in      thirty (30) calendar days of the conclusion of the Arbitration. If
the Arbitration process, JAMS shall confirm in writing that         special arrangements are required regarding file maintenance
Party’s failure to respond or participate, and, pursuant to Rule    or document retention, they must be agreed to in writing,
19, the Arbitrator, once appointed, shall schedule, and provide     and JAMS reserves the right to impose an additional fee for
appropriate notice of, a Hearing or other opportunity for the       such special arrangements. Documents that are submitted for
Party demanding the Arbitration to demonstrate its entitlement      e-filing are retained for thirty (30) calendar days following the
to relief.                                                          conclusion of the Arbitration.

(d) The date of commencement of the Arbitration is the              (e) Unless the Parties’ Agreement or applicable law provides
date of the Commencement Letter but is not intended to be           otherwise, JAMS, if it determines that the Arbitrations so
applicable to any legal requirement, such as the statute of         filed have common issues of fact or law, may consolidate
limitations; any contractual limitations period; or any claims      Arbitrations in the following instances:
notice requirement. The term “commencement,” as used in                  (i) If a Party files more than one Arbitration with JAMS,
this Rule, is intended only to pertain to the operation of this     JAMS may consolidate two or more of the Arbitrations into a
and other Rules (such as Rules 3, 13(a), 17(a) and 31(a)).          single Arbitration.
                                                                         (ii) Where a Demand or Demands for Arbitration is or
RULE 6                                                              are submitted naming Parties already involved in another
Preliminary and                                                     Arbitration or Arbitrations pending under these Rules, JAMS
Administrative Matters                                              may decide that the new case or cases shall be consolidated
                                                                    into one or more of the pending proceedings and referred
(a) JAMS may convene, or the Parties may request,                   to one of the Arbitrators or panels of Arbitrators already
administrative conferences to discuss any procedural matter         appointed.
relating to the administration of the Arbitration.
                                                                         (iii) Where a Demand or Demands for Arbitration is or are
(b) If no Arbitrator has yet been appointed, at the request         submitted naming parties that are not identical to the Parties
of a Party and in the absence of Party agreement, JAMS may          in the existing Arbitration or Arbitrations, JAMS may decide
determine the location of the Hearing, subject to Arbitrator        that the new case or cases shall be consolidated into one or
review. In determining the location of the Hearing, such            more of the pending proceedings and referred to one of the
factors as the subject matter of the dispute, the convenience       Arbitrators or panels of Arbitrators already appointed.
of the Parties and witnesses, and the relative resources of the
Parties shall be considered, but in no event will the Hearing       When rendering its decision, JAMS will take into account all
be scheduled in a location that precludes attendance by the         circumstances, including the links between the cases and the
Employee.                                                           progress already made in the existing Arbitrations.
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    Unless applicable law provides otherwise, where JAMS                    Any document filed via the JAMS Electronic Filing System shall
    decides to consolidate a proceeding into a pending Arbitration,         be considered as filed when the transmission to the JAMS
    the Parties to the consolidated case or cases will be deemed            Electronic Filing System is complete. Any document e-filed by
    to have waived their right to designate an Arbitrator as well           11:59 p.m. (of the sender’s time zone) shall be deemed filed on
    as any contractual provision with respect to the site of the            that date.
    Arbitration.
                                                                            (b) Every document filed with the JAMS Electronic Filing
    (f) Where a third party seeks to participate in an Arbitration          System shall be deemed to have been signed by the Arbitrator,
    already pending under these Rules or where a Party to an                Case Manager, attorney or declarant who submits the
    Arbitration under these Rules seeks to compel a third party             document to the JAMS Electronic Filing System, and shall bear
    to participate in a pending Arbitration, the Arbitrator shall           the typed name, address and telephone number of a signing
    determine such request, taking into account all circumstances           attorney.
    he or she deems relevant and applicable.
                                                                            (c) Delivery of e-service documents through the JAMS
                                                                            Electronic Filing System shall be considered as valid and
    RULE 7                                                                  effective service and shall have the same legal effect as an
    Number and Neutrality                                                   original paper document. Recipients of e-service documents
    of Arbitrators; Appointment                                             shall access their documents through the JAMS Electronic
                                                                            Filing System. E-service shall be deemed complete when the
    and Authority of Chairperson                                            Party initiating e-service or JAMS completes the transmission
    (a) The Arbitration shall be conducted by one neutral                   of the electronic document(s) to the JAMS Electronic Filing
    Arbitrator, unless all Parties agree otherwise. In these Rules,         System for e-filing and/or e-service.
    the term “Arbitrator” shall mean, as the context requires, the
    Arbitrator or the panel of Arbitrators in a tripartite Arbitration.     (d) If an electronic filing and/or service via the JAMS Electronic
                                                                            Filing System does not occur due to technical error in the
    (b) In cases involving more than one Arbitrator, the Parties            transmission of the document, the Arbitrator or JAMS may,
    shall agree on, or, in the absence of agreement, JAMS shall             for good cause shown, permit the document to be filed and/
    designate, the Chairperson of the Arbitration Panel. If the             or served nunc pro tunc to the date it was first attempted to be
    Parties and the Arbitrators agree, a single member of the               transmitted electronically. In such cases a Party shall, absent
    Arbitration Panel may, acting alone, decide discovery and               extraordinary circumstances, be entitled to an order extending
    procedural matters, including the conduct of hearings to                the date for any response or the period within which any right,
    receive documents and testimony from third parties who have             duty or other act must be performed.
    been subpoenaed, in advance of the Arbitration Hearing, to
    produce documents.                                                      (e) For documents that are not filed electronically, service by
                                                                            a Party under these Rules is effected by providing one signed
    (c) Where the Parties have agreed that each Party is to name            copy of the document to each Party and two copies in the case
    one Arbitrator, the Arbitrators so named shall be neutral and           of a sole Arbitrator and four copies in the case of a tripartite
    independent of the appointing Party, unless the Parties have            panel to JAMS. Service may be made by hand-delivery,
    agreed that they shall be non-neutral.                                  overnight delivery service or U.S. mail. Service by any of these
                                                                            means is considered effective upon the date of deposit of the
    RULE 8                                                                  document.

    Service                                                                 (f) In computing any period of time prescribed or allowed
    (a JAMS or the Arbitrator may at any time require electronic            by these Rules for a Party to do some act within a prescribed
    filing and service of documents in an Arbitration, including            period after the service of a notice or other paper on the Party
    through the JAMS Electronic Filing System. If JAMS or the               and the notice or paper is served on the Party only by U.S.
    Arbitrator requires electronic filing and service, the Parties          mail, three (3) calendar days shall be added to the prescribed
    shall maintain and regularly monitor a valid, usable and live           period. If the last day for the performance of any act that is
    email address for the receipt of documents and notifications.           required by these rules to be performed within a specific time
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falls on a Saturday, Sunday or other legal holiday, the period is       RULE 10
extended to and includes the next day that is not a holiday.
                                                                        Changes of Claims
                                                                        After the filing of a claim and before the Arbitrator is appointed,
RULE 9                                                                  any Party may make a new or different claim against a Party or
Notice of Claims                                                        any third Party that is subject to Arbitration in the proceeding.
(a) Each Party shall afford all other Parties reasonable and            Such claim shall be made in writing, filed with JAMS and served
timely notice of its claims, affirmative defenses or counterclaims.     on the other Parties. Any response to the new claim shall be
Any such notice shall include a short statement of its factual          made within fourteen (14) calendar days after service of such
basis. No claim, remedy, counterclaim or affirmative defense            claim. After the Arbitrator is appointed, no new or different
will be considered by the Arbitrator in the absence of such prior       claim may be submitted, except with the Arbitrator’s approval.
notice to the other Parties, unless the Arbitrator determines           A Party may request a hearing on this issue. Each Party has the
that no Party has been unfairly prejudiced by such lack of              right to respond to any new or amended claim in accordance
formal notice or all Parties agree that such consideration is           with Rule 9(c) or (d).
appropriate notwithstanding the lack of prior notice.

(b) Claimant’s notice of claims is the Demand for Arbitration
                                                                        RULE 11
referenced in Rule 5. It shall include a statement of the               Interpretation of Rules and
remedies sought. The Demand for Arbitration may attach and              Jurisdictional Challenges
incorporate a copy of a Complaint previously filed with a court.
                                                                        (a) Once appointed, the Arbitrator shall resolve disputes
In the latter case, Claimant may accompany the Complaint
                                                                        about the interpretation and applicability of these Rules and
with a copy of any Answer to that Complaint filed by any
                                                                        conduct of the Arbitration Hearing. The resolution of the issue
Respondent.
                                                                        by the Arbitrator shall be final.
(c) Within fourteen (14) calendar days of service of the notice
                                                                        (b) Jurisdictional and arbitrability disputes, including disputes
of claim, a Respondent may submit to JAMS and serve on
                                                                        over the formation, existence, validity, interpretation or scope
other Parties a response and a statement of any affirmative
                                                                        of the agreement under which Arbitration is sought, and who
defenses, including jurisdictional challenges, or counterclaims
                                                                        are proper Parties to the Arbitration, shall be submitted to and
it may have. JAMS may grant reasonable extensions of time to
                                                                        ruled on by the Arbitrator. Unless the relevant law requires
file a response or counterclaim prior to the appointment of the
                                                                        otherwise, the Arbitrator has the authority to determine
Arbitrator.
                                                                        jurisdiction and arbitrability issues as a preliminary matter.
(d) Within fourteen (14) calendar days of service of a
                                                                        (c) Disputes concerning the appointment of the Arbitrator
counterclaim, a Claimant may submit to JAMS and serve
                                                                        shall be resolved by JAMS.
on other Parties a response to such counterclaim and any
affirmative defenses, including jurisdictional challenges, it may       (d) The Arbitrator may, upon a showing of good cause or sua
have.                                                                   sponte, when necessary to facilitate the Arbitration, extend any
                                                                        deadlines established in these Rules, provided that the time
(e) Any claim or counterclaim to which no response has been
                                                                        for rendering the Award may only be altered in accordance
served will be deemed denied.
                                                                        with Rules 22(i) or 24.
(f) Jurisdictional challenges under Rule 11 shall be deemed
waived, unless asserted in a response to a Demand or                    RULE 12
counterclaim or promptly thereafter, when circumstances first
suggest an issue of arbitrability.
                                                                        Representation
                                                                        (a) The Parties, whether natural persons or legal entities such
                                                                        as corporations, LLCs or partnerships, may be represented by
                                                                        counsel or any other person of the Party’s choice. Each Party
                                                                        shall give prompt written notice to the Case Manager and the
                                                                        other Parties of the name, address, telephone number and
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    email address of its representative. The representative of a          Rule. The Arbitrator(s) may authorize any Party to communicate
    Party may act on the Party’s behalf in complying with these           directly with the Arbitrator(s) by email or other written means
    Rules.                                                                as long as copies are simultaneously forwarded to the JAMS
                                                                          Case Manager and the other Parties.
    (b) Changes in Representation. A Party shall give prompt
    written notice to the Case Manager and the other Parties of           (b) A Party may have ex parte communication with its
    any change in its representation, including the name, address,        appointed neutral or non-neutral Arbitrator as necessary to
    telephone number and email address of the new representative.         secure the Arbitrator’s services and to assure the absence
    Such notice shall state that the written consent of the former        of conflicts, as well as in connection with the selection of the
    representative, if any, and of the new representative, has            Chairperson of the arbitral panel.
    been obtained and shall state the effective date of the new
    representation.                                                       (c) The Parties may agree to permit more extensive ex parte
                                                                          communication between a Party and a non-neutral Arbitrator.
    (c) The Arbitrator may withhold approval of any intended              More extensive communications with a non-neutral Arbitrator
    change or addition to a Party’s legal representative(s) where         may also be permitted by applicable law and rules of ethics.
    such change or addition could compromise the ability of the
    Arbitrator to continue to serve, the composition of the Panel in      RULE 15
    the case of a tripartite Arbitration or the finality of any Award
    (on the grounds of possible conflict or other like impediment).       Arbitrator Selection,
    In deciding whether to grant or withhold such approval, the           Disclosures and Replacement
    Arbitrator shall have regard to the circumstances, including          (a) Unless the Arbitrator has been previously selected by
    the general principle that a Party may be represented by a            agreement of the Parties, JAMS may attempt to facilitate
    legal representative chosen by that Party, the stage that the         agreement among the Parties regarding selection of the
    Arbitration has reached, the potential prejudice resulting from       Arbitrator.
    the possible disqualification of the Arbitrator, the efficiency
    resulting from maintaining the composition of the Panel (as           (b) If the Parties do not agree on an Arbitrator, JAMS shall
    constituted throughout the Arbitration), the views of the other       send the Parties a list of at least five (5) Arbitrator candidates
    Party or Parties to the Arbitration and any likely wasted costs       in the case of a sole Arbitrator and at least ten (10) Arbitrator
    or loss of time resulting from such change or addition.               candidates in the case of a tripartite panel. JAMS shall also
                                                                          provide each Party with a brief description of the background
    RULE 13                                                               and experience of each Arbitrator candidate. JAMS may add
                                                                          names to or replace any or all names on the list of Arbitrator
    Withdrawal from Arbitration                                           candidates for reasonable cause at any time before the Parties
    (a) No Party may terminate or withdraw from an Arbitration            have submitted their choice pursuant to subparagraph (c)
    after the issuance of the Commencement Letter (see Rule 5),           below.
    except by written agreement of all Parties to the Arbitration.
                                                                          (c) Within seven (7) calendar days of service upon the Parties
    (b) A Party that asserts a claim or counterclaim may unilaterally     of the list of names, each Party may strike two (2) names in
    withdraw that claim or counterclaim without prejudice by              the case of a sole Arbitrator and three (3) names in the case
    serving written notice on the other Parties and the Arbitrator.       of a tripartite panel, and shall rank the remaining Arbitrator
    However, the opposing Parties may, within seven (7) calendar          candidates in order of preference. The remaining Arbitrator
    days of such notice, request that the Arbitrator condition the        candidate with the highest composite ranking shall be appointed
    withdrawal upon such terms as he or she may direct.                   the Arbitrator. JAMS may grant a reasonable extension of the
                                                                          time to strike and rank the Arbitrator candidates to any Party
    RULE 14                                                               without the consent of the other Parties.

    Ex Parte Communications                                               (d) If this process does not yield an Arbitrator or a complete
    (a) No Party may have any ex parte communication with                 panel, JAMS shall designate the sole Arbitrator or as many
    a neutral Arbitrator, except as provided in section (b) of this
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members of the tripartite panel as are necessary to complete            determination as to such challenge. Such determination shall
the panel.		                                                            take into account the materiality of the facts and any prejudice
                                                                        to the Parties. That decision will be final.
(e) If a Party fails to respond to a list of Arbitrator candidates
within seven (7) calendar days after its service, or fails to           (j) Where the Parties have agreed that a Party-appointed
respond according to the instructions provided by JAMS, JAMS            Arbitrator is to be non-neutral, that Party-appointed Arbitrator
shall deem that Party to have accepted all of the Arbitrator            is not obliged to withdraw if requested to do so only by the
candidates.                                                             party that did not appoint that Arbitrator.

(f) Entities or individuals whose interests are not adverse
with respect to the issues in dispute shall be treated as a             RULE 16
single Party for purposes of the Arbitrator selection process.          Preliminary Conference
JAMS shall determine whether the interests between entities             At the request of any Party or at the direction of the Arbitrator, a
or individuals are adverse for purposes of Arbitrator selection,        Preliminary Conference shall be conducted with the Parties or
considering such factors as whether they are represented by             their counsel or representatives. The Preliminary Conference
the same attorney and whether they are presenting joint or              may address any or all of the following subjects:
separate positions at the Arbitration.
                                                                        (a) The exchange of information in accordance with Rule 17 or
(g) If, for any reason, the Arbitrator who is selected is unable        otherwise;
to fulfill the Arbitrator’s duties, a successor Arbitrator shall be
chosen in accordance with this Rule. If a member of a panel of          (b) The schedule for discovery as permitted by the Rules, as
Arbitrators becomes unable to fulfill his or her duties after the       agreed by the Parties or as required or authorized by applicable
beginning of a Hearing but before the issuance of an Award,             law;
a new Arbitrator will be chosen in accordance with this Rule,
unless, in the case of a tripartite panel, the Parties agree to         (c) The pleadings of the Parties and any agreement to clarify
proceed with the remaining two Arbitrators. JAMS will make              or narrow the issues or structure the Arbitration Hearing;
the final determination as to whether an Arbitrator is unable to        (d) The scheduling of the Hearing and any pre-Hearing
fulfill his or her duties, and that decision shall be final.            exchanges of information, exhibits, motions or briefs;
(h) Any disclosures regarding the selected Arbitrator shall be          (e) The attendance of witnesses as contemplated by Rule 21;
made as required by law or within ten (10) calendar days from
the date of appointment. Such disclosures may be provided               (f) The scheduling of any dispositive motion pursuant to Rule
in electronic format, provided that JAMS will produce a                 18;
hard copy to any Party that requests it. The Parties and their
representatives shall disclose to JAMS any circumstances                (g) The premarking of exhibits, the preparation of joint exhibit
likely to give rise to justifiable doubt as to the Arbitrator’s         lists and the resolution of the admissibility of exhibits;
impartiality or independence, including any bias or any                 (h) The form of the Award; and
financial or personal interest in the result of the Arbitration
or any past or present relationship with the Parties and their          (i) Such other matters as may be suggested by the Parties or
representatives. The obligation of the Arbitrator, the Parties          the Arbitrator.
and their representatives to make all required disclosures
                                                                        The Preliminary Conference may be conducted telephonically
continues throughout the Arbitration process.
                                                                        and may be resumed from time to time as warranted.
(i) At any time during the Arbitration process, a Party may
challenge the continued service of an Arbitrator for cause.             RULE 17
The challenge must be based upon information that was not
available to the Parties at the time the Arbitrator was selected.
                                                                        Exchange of Information
A challenge for cause must be in writing and exchanged with             (a) The Parties shall cooperate in good faith in the voluntary
opposing Parties, who may respond within seven (7) calendar             and informal exchange of all non-privileged documents and
days of service of the challenge. JAMS shall make the final             other information (including electronically stored information
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 (“ESI”)) relevant to the dispute or claim immediately after          RULE 18
 commencement of the Arbitration. They shall complete an
 initial exchange of all relevant, non-privileged documents,
                                                                      Summary Disposition
 including, without limitation, copies of all documents in            of a Claim or Issue
 their possession or control on which they rely in support of         The Arbitrator may permit any Party to file a Motion for
 their positions, names of individuals whom they may call as          Summary Disposition of a particular claim or issue, either by
 witnesses at the Arbitration Hearing and names of all experts        agreement of all interested Parties or at the request of one
 who may be called to testify at the Arbitration Hearing,             Party, provided other interested Parties have reasonable notice
 together with each expert’s report, which may be introduced          to respond to the motion. The Request may be granted only if
 at the Arbitration Hearing, within twenty-one (21) calendar          the Arbitrator determines that the requesting Party has shown
 days after all pleadings or notice of claims have been received.     that the proposed motion is likely to succeed and dispose of or
 The Arbitrator may modify these obligations at the Preliminary       narrow the issues in the case.
 Conference.

 (b) Each Party may take at least one deposition of an opposing       RULE 19
 Party or an individual under the control of the opposing Party.      Scheduling and Location of Hearing
 The Parties shall attempt to agree on the number, time,
                                                                      (a) The Arbitrator, after consulting with the Parties that have
 location, and duration of the deposition(s). Absent agreement,
                                                                      appeared, shall determine the date, time and location of
 the Arbitrator shall determine these issues, including whether
                                                                      the Hearing. The Arbitrator and the Parties shall attempt to
 to grant a request for additional depositions, based upon the
                                                                      schedule consecutive Hearing days if more than one day is
 reasonable need for the requested information, the availability
                                                                      necessary.
 of other discovery and the burdensomeness of the request on
 the opposing Parties and the witness.                                (b) If a Party has failed to participate in the Arbitration process,
                                                                      and the Arbitrator reasonably believes that the Party will not
 (c) As they become aware of new documents or information,
                                                                      participate in the Hearing, the Arbitrator may set the Hearing
 including experts who may be called upon to testify, all
                                                                      without consulting with that Party. The non-participating Party
 Parties continue to be obligated to provide relevant, non-
                                                                      shall be served with a Notice of Hearing at least thirty (30)
 privileged documents to supplement their identification of
                                                                      calendar days prior to the scheduled date, unless the law of
 witnesses and experts and to honor any informal agreements
                                                                      the relevant jurisdiction allows for, or the Parties have agreed
 or understandings between the Parties regarding documents
                                                                      to, shorter notice.
 or information to be exchanged. Documents that were not
 previously exchanged, or witnesses and experts that were not         (c) The Arbitrator, in order to hear a third-party witness, or for
 previously identified, may not be considered by the Arbitrator       the convenience of the Parties or the witnesses, may conduct
 at the Hearing, unless agreed by the Parties or upon a showing       the Hearing at any location. Any JAMS Resolution Center may
 of good cause.                                                       be designated a Hearing location for purposes of the issuance
                                                                      of a subpoena or subpoena duces tecum to a third-party
 (d) The Parties shall promptly notify JAMS when a dispute
                                                                      witness.
 exists regarding discovery issues. A conference shall be
 arranged with the Arbitrator, either by telephone or in person,
 and the Arbitrator shall decide the dispute. With the written        RULE 20
 consent of all Parties, and in accordance with an agreed             Pre-Hearing Submissions
 written procedure, the Arbitrator may appoint a special master
                                                                      (a) Except as set forth in any scheduling order that may
 to assist in resolving a discovery dispute.
                                                                      be adopted, at least fourteen (14) calendar days before the
 (e) The Parties may take discovery of third parties with the         Arbitration Hearing, the Parties shall file with JAMS and serve
 approval of the Arbitrator.                                          and exchange (1) a list of the witnesses they intend to call,
                                                                      including any experts; (2) a short description of the anticipated
                                                                      testimony of each such witness and an estimate of the length
                                                                      of the witness’ direct testimony; and (3) a list of all exhibits
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intended to be used at the Hearing. The Parties should                 (b) The Arbitrator shall determine the order of proof, which
exchange with each other copies of any such exhibits to the            will generally be similar to that of a court trial.
extent that they have not been previously exchanged. The
Parties should pre-mark exhibits and shall attempt to resolve          (c) The Arbitrator shall require witnesses to testify under oath
any disputes regarding the admissibility of exhibits prior to the      if requested by any Party, or otherwise at the discretion of the
Hearing.                                                               Arbitrator.

(b) The Arbitrator may require that each Party submit a                (d) Strict conformity to the rules of evidence is not required,
concise written statement of position, including summaries of          except that the Arbitrator shall apply applicable law relating
the facts and evidence a Party intends to present, discussion          to privileges and work product. The Arbitrator shall consider
of the applicable law and the basis for the requested Award            evidence that he or she finds relevant and material to the
or denial of relief sought. The statements, which may be in            dispute, giving the evidence such weight as is appropriate.
the form of a letter, shall be filed with JAMS and served upon         The Arbitrator may be guided in that determination by
the other Parties at least seven (7) calendar days before the          principles contained in the Federal Rules of Evidence or any
Hearing date. Rebuttal statements or other pre-Hearing written         other applicable rules of evidence. The Arbitrator may limit
submissions may be permitted or required at the discretion of          testimony to exclude evidence that would be immaterial or
the Arbitrator.                                                        unduly repetitive, provided that all Parties are afforded the
                                                                       opportunity to present material and relevant evidence.

RULE 21                                                                (e) The Arbitrator shall receive and consider relevant
Securing Witnesses and Documents                                       deposition testimony recorded by transcript or videotape,
                                                                       provided that the other Parties have had the opportunity
for the Arbitration Hearing                                            to attend and cross-examine. The Arbitrator may in his or
At the written request of a Party, all other Parties shall produce     her discretion consider witness affidavits or other recorded
for the Arbitration Hearing all specified witnesses in their           testimony, even if the other Parties have not had the opportunity
employ or under their control without need of subpoena. The            to cross-examine, but will give that evidence only such weight
Arbitrator may issue subpoenas for the attendance of witnesses         as he or she deems appropriate.
or the production of documents either prior to or at the Hearing
pursuant to this Rule or Rule 19(c). The subpoena or subpoena          (f) The Parties will not offer as evidence, and the Arbitrator
duces tecum shall be issued in accordance with the applicable          shall neither admit into the record nor consider, prior settlement
law. Pre-issued subpoenas may be used in jurisdictions that            offers by the Parties or statements or recommendations made
permit them. In the event a Party or a subpoenaed person               by a mediator or other person in connection with efforts to
objects to the production of a witness or other evidence, the          resolve the dispute being arbitrated, except to the extent that
Party or subpoenaed person may file an objection with the              applicable law permits the admission of such evidence.
Arbitrator, who shall promptly rule on the objection, weighing         (g) The Arbitrator has full authority to determine that the
both the burden on the producing Party and witness and the             Hearing, or any portion thereof, be conducted in person or
need of the proponent for the witness or other evidence.               virtually by conference call, videoconference or using other
                                                                       communications technology with participants in one or more
RULE 22                                                                geographical places, or in a combined form. If some or all of
The Arbitration Hearing                                                the witnesses or other participants are located remotely, the
                                                                       Arbitrator may make such orders and set such procedures as
(a) The Arbitrator will ordinarily conduct the Arbitration             the Arbitrator deems necessary or advisable.
Hearing in the manner set forth in these Rules. The Arbitrator
may vary these procedures if it is determined to be reasonable         (h) When the Arbitrator determines that all relevant and
and appropriate to do so. It is expected that the Employee             material evidence and arguments have been presented, and
will attend the Arbitration Hearing, as will any other individual      any interim or partial Awards have been issued, the Arbitrator
party with information about a significant issue.                      shall declare the Hearing closed. The Arbitrator may defer the
                                                                       closing of the Hearing until a date determined by the Arbitrator,
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 to permit the Parties to submit post-Hearing briefs, which may         RULE 23
 be in the form of a letter, and/or to make closing arguments. If
 post-Hearing briefs are to be submitted, or closing arguments
                                                                        Waiver of Hearing
 are to be made, the Hearing shall be deemed closed upon                The Parties may agree to waive the oral Hearing and submit
 receipt by the Arbitrator of such briefs or at the conclusion of       the dispute to the Arbitrator for an Award based on written
 such closing arguments, whichever is later.                            submissions and other evidence as the Parties may agree.

 (i) At any time before the Award is rendered, the Arbitrator
 may, sua sponte or on application of a Party for good cause
                                                                        RULE 24
 shown, reopen the Hearing. If the Hearing is reopened, the             Awards
 time to render the Award shall be calculated from the date the         (a) The Arbitrator shall render a Final Award or a Partial
 reopened Hearing is declared closed by the Arbitrator.                 Final Award within thirty (30) calendar days after the date of
                                                                        the close of the Hearing, as defined in Rule 22(h) or (i), or, if
 (j) The Arbitrator may proceed with the Hearing in the
                                                                        a Hearing has been waived, within thirty (30) calendar days
 absence of a Party that, after receiving notice of the Hearing
                                                                        after the receipt by the Arbitrator of all materials specified by
 pursuant to Rule 19, fails to attend. The Arbitrator may not
                                                                        the Parties, except (1) by the agreement of the Parties; (2) upon
 render an Award solely on the basis of the default or absence
                                                                        good cause for an extension of time to render the Award; or
 of the Party, but shall require any Party seeking relief to submit
                                                                        (3) as provided in Rule 22(i). The Arbitrator shall provide the
 such evidence as the Arbitrator may require for the rendering
                                                                        Final Award or the Partial Final Award to JAMS for issuance in
 of an Award. If the Arbitrator reasonably believes that a Party
                                                                        accordance with this Rule.
 will not attend the Hearing, the Arbitrator may schedule the
 Hearing as a telephonic Hearing and may receive the evidence           (b) Where a panel of Arbitrators has heard the dispute, the
 necessary to render an Award by affidavit. The notice of               decision and Award of a majority of the panel shall constitute
 Hearing shall specify if it will be in person or telephonic.           the Arbitration Award.
 (k) Any Party may arrange for a stenographic record to be              (c) In determining the merits of the dispute, the Arbitrator
 made of the Hearing and shall inform the other Parties in              shall be guided by the rules of law agreed upon by the Parties.
 advance of the Hearing. No other means of recording the                In the absence of such agreement, the Arbitrator will be guided
 proceedings shall be permitted absent agreement of the                 by the law or the rules of law that he or she deems to be most
 Parties or by direction of the Arbitrator.                             appropriate. The Arbitrator may grant any remedy or relief
      (i) The requesting Party shall bear the cost of such              that is just and equitable and within the scope of the Parties’
 stenographic record. If all other Parties agree to share the cost      agreement, including, but not limited to, specific performance
 of the stenographic record, it shall be made available to the          of a contract or any other equitable or legal remedy.
 Arbitrator and may be used in the proceeding.
                                                                        (d) In addition to a Final Award or Partial Final Award, the
      (ii) If there is no agreement to share the cost, the              Arbitrator may make other decisions, including interim or
 stenographic record may not be provided to the Arbitrator and          partial rulings, orders and Awards.
 may not be used in the proceeding, unless the Party arranging
 for the stenographic record agrees to provide access to the            (e) Interim Measures. The Arbitrator may grant whatever
 stenographic record either at no charge or on terms that are           interim measures are deemed necessary, including injunctive
 acceptable to the Parties and the reporting service.                   relief and measures for the protection or conservation of
                                                                        property and disposition of disposable goods. Such interim
     (iii) If the Parties agree to the Optional Arbitration Appeal
                                                                        measures may take the form of an interim or Partial Final
 Procedure (see Rule 34), they shall, if possible, ensure that a
                                                                        Award, and the Arbitrator may require security for the costs of
 stenographic or other record is made of the Hearing.
                                                                        such measures. Any recourse by a Party to a court for interim
     (iv) The Parties may agree that the cost of the stenographic       or provisional relief shall not be deemed incompatible with the
 record shall or shall not be allocated by the Arbitrator in the        agreement to arbitrate or a waiver of the right to arbitrate.
 Award.
                                                                        (f) The Award of the Arbitrator may allocate Arbitration fees
                                                                        and Arbitrator compensation and expenses, unless such an
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allocation is expressly prohibited by the Parties’ Agreement or        a judicial proceeding to enforce, modify or vacate the Award
by applicable law. (Such a prohibition may not limit the power         pursuant to Rule 25, fourteen (14) calendar days after service if
of the Arbitrator to allocate Arbitration fees and Arbitrator          no request for a correction is made, or as of the effective date
compensation and expenses pursuant to Rule 31(c).)                     of service of a corrected Award.

(g) The Award of the Arbitrator may allocate attorneys’ fees
and expenses and interest (at such rate and from such date             RULE 25
as the Arbitrator may deem appropriate) if provided by the             Enforcement of the Award
Parties’ Agreement or allowed by applicable law. When the              Proceedings to enforce, confirm, modify or vacate an Award
Arbitrator is authorized to award attorneys’ fees and must             will be controlled by and conducted in conformity with the
determine the reasonable amount of such fees, he or she may            Federal Arbitration Act, 9 U.S.C. Sec 1, et seq., or applicable
consider whether the failure of a Party to cooperate reasonably        state law. The Parties to an Arbitration under these Rules shall
in the discovery process and/or comply with the Arbitrator’s           be deemed to have consented that judgment upon the Award
discovery orders caused delay to the proceeding or additional          may be entered in any court having jurisdiction thereof.
costs to the other Parties.

(h) The Award shall consist of a written statement signed by           RULE 26
the Arbitrator regarding the disposition of each claim and the         Confidentiality and Privacy
relief, if any, as to each claim. The Award shall also contain a
concise written statement of the reasons for the Award, stating        (a) JAMS and the Arbitrator shall maintain the confidential
the essential findings and conclusions on which the Award              nature of the Arbitration proceeding and the Award, including
is based. The Parties may agree to any other form of Award,            the Hearing, except as necessary in connection with a judicial
unless the Arbitration is based on an Arbitration Agreement            challenge to or enforcement of an Award, or unless otherwise
that is required as a condition of employment.                         required by law or judicial decision.

(i) After the Award has been rendered, and provided the                (b) The Arbitrator may issue orders to protect the
Parties have complied with Rule 31, the Award shall be issued          confidentiality of proprietary information, trade secrets or
by serving copies on the Parties. Service may be made by U.S.          other sensitive information.
mail. It need not be sent certified or registered.                     (c) Subject to the discretion of the Arbitrator or agreement of
(j) Within seven (7) calendar days after service of a Partial          the Parties, any person having a direct interest in the Arbitration
Final Award or Final Award by JAMS, any Party may serve upon           may attend the Arbitration Hearing. The Arbitrator may exclude
the other Parties and file with JAMS a request that the Arbitrator     any non-Party from any part of a Hearing.
correct any computational, typographical or other similar error
in an Award (including the reallocation of fees pursuant to Rule       RULE 27
31 or on account of the effect of an offer to allow judgment), or      Waiver
the Arbitrator may sua sponte propose to correct such errors
                                                                       (a) If a Party becomes aware of a violation of or failure to
in an Award. A Party opposing such correction shall have
                                                                       comply with these Rules and fails promptly to object in writing,
seven (7) calendar days thereafter in which to file and serve
                                                                       the objection will be deemed waived, unless the Arbitrator
any objection. The Arbitrator may make any necessary and
                                                                       determines that waiver will cause substantial injustice or
appropriate corrections to the Award within twenty-one (21)
                                                                       hardship.
calendar days of receiving a request or fourteen (14) calendar
days after his or her proposal to do so. The Arbitrator may            (b) If any Party becomes aware of information that could be
extend the time within which to make corrections upon good             the basis of a challenge for cause to the continued service of the
cause. The corrected Award shall be served upon the Parties in         Arbitrator, such challenge must be made promptly, in writing,
the same manner as the Award.                                          to the Arbitrator or JAMS. Failure to do so shall constitute a
                                                                       waiver of any objection to continued service by the Arbitrator.
(k) The Award is considered final, for purposes of either the
Optional Arbitration Appeal Procedure pursuant to Rule 34 or
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 RULE 28                                                                  RULE 30
 Settlement and Consent Award                                             Disqualification of the
 (a) The Parties may agree, at any stage of the Arbitration               Arbitrator as a Witness or
 process, to submit the case to JAMS for mediation. The JAMS              Party and Exclusion of Liability
 mediator assigned to the case may not be the Arbitrator or
 a member of the Appeal Panel, unless the Parties so agree,               (a) The Parties may not call the Arbitrator, the Case Manager or
 pursuant to Rule 28(b).                                                  any other JAMS employee or agent as a witness or as an expert
                                                                          in any pending or subsequent litigation or other proceeding
 (b) The Parties may agree to seek the assistance of the                  involving the Parties and relating to the dispute that is the
 Arbitrator in reaching settlement. By their written agreement            subject of the Arbitration. The Arbitrator, Case Manager and
 to submit the matter to the Arbitrator for settlement assistance,        other JAMS employees and agents are also incompetent to
 the Parties will be deemed to have agreed that the assistance            testify as witnesses or experts in any such proceeding.
 of the Arbitrator in such settlement efforts will not disqualify the
 Arbitrator from continuing to serve as Arbitrator if settlement is       (b) The Parties shall defend and/or pay the cost (including
 not reached; nor shall such assistance be argued to a reviewing          any attorneys’ fees) of defending the Arbitrator, Case Manager
 court as the basis for vacating or modifying an Award.                   and/or JAMS from any subpoenas from outside parties arising
                                                                          from the Arbitration.
 (c) If, at any stage of the Arbitration process, all Parties agree
 upon a settlement of the issues in dispute and request the               (c) The Parties agree that neither the Arbitrator, nor the
 Arbitrator to embody the agreement in a Consent Award, the               Case Manager, nor JAMS is a necessary Party in any litigation
 Arbitrator shall comply with such request, unless the Arbitrator         or other proceeding relating to the Arbitration or the subject
 believes the terms of the agreement are illegal or undermine             matter of the Arbitration, and neither the Arbitrator, nor the
 the integrity of the Arbitration process. If the Arbitrator is           Case Manager, nor JAMS, including its employees or agents,
 concerned about the possible consequences of the proposed                shall be liable to any Party for any act or omission in connection
 Consent Award, he or she shall inform the Parties of that                with any Arbitration conducted under these Rules, including,
 concern and may request additional specific information                  but not limited to, any disqualification of or recusal by the
 from the Parties regarding the proposed Consent Award. The               Arbitrator.
 Arbitrator may refuse to enter the proposed Consent Award
 and may withdraw from the case.                                          RULE 31
                                                                          Fees
 RULE 29                                                                  (a) Except as provided in paragraph (c) below, unless the
 Sanctions                                                                Parties have agreed to a different allocation, each Party
 The Arbitrator may order appropriate sanctions for failure of a          shall pay its pro rata share of JAMS fees and expenses as
 Party to comply with its obligations under any of these Rules or         set forth in the JAMS fee schedule in effect at the time of the
 with an order of the Arbitrator. These sanctions may include, but        commencement of the Arbitration. To the extent possible, the
 are not limited to, assessment of Arbitration fees and Arbitrator        allocation of such fees and expenses shall not be disclosed to
 compensation and expenses; any other costs occasioned by                 the Arbitrator. JAMS’ agreement to render services is jointly
 the actionable conduct, including reasonable attorneys’ fees;            with the Party and the attorney or other representative of the
 exclusion of certain evidence; drawing adverse inferences; or,           Party in the Arbitration. The non-payment of fees may result in
 in extreme cases, determining an issue or issues submitted to            an administrative suspension of the case in accordance with
 Arbitration adversely to the Party that has failed to comply.            Rule 6(c).

                                                                          (b) JAMS requires that the Parties deposit the fees and
                                                                          expenses for the Arbitration from time to time during the
                                                                          course of the proceedings and prior to the Hearing. The
                                                                          Arbitrator may preclude a Party that has failed to deposit its
                                                                          pro rata or agreed-upon share of the fees and expenses from
                                                                          offering evidence of any affirmative claim at the Hearing.
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        JAMS Employment Arbitration Rules & Procedures • Effective June 1, 2021                                                       15


(c) If an Arbitration is based on a clause or agreement that          amount, the final Award issued shall be corrected to reflect the
is required as a condition of employment, the only fee that           agreed-upon maximum amount.
an Employee may be required to pay is the initial JAMS Case
Management Fee. JAMS does not preclude an Employee                    RULE 33
from contributing to administrative and Arbitrator fees
and expenses. If an Arbitration is not based on a clause or           Final Offer (or Baseball)
agreement that is required as a condition of employment, the          Arbitration Option
Parties are jointly and severally liable for the payment of JAMS      (a) Upon agreement of the Parties to use the option set
Arbitration fees and Arbitrator compensation and expenses. In         forth in this Rule, at least seven (7) calendar days before the
the event that one Party has paid more than its share of such         Arbitration Hearing, the Parties shall exchange and provide to
fees, compensation and expenses, the Arbitrator may award             JAMS written proposals for the amount of money damages they
against any other Party any such fees, compensation and               would offer or demand, as applicable, and that they believe to
expenses that such Party owes with respect to the Arbitration.        be appropriate based on the standard set forth in Rule 24(c).
(d) Entities or individuals whose interests are not adverse           JAMS shall promptly provide copies of the Parties’ proposals
with respect to the issues in dispute shall be treated as a           to the Arbitrator, unless the Parties agree that they should not
single Party for purposes of JAMS’ assessment of fees. JAMS           be provided to the Arbitrator. At any time prior to the close
shall determine whether the interests between entities or             of the Arbitration Hearing, the Parties may exchange revised
individuals are adverse for purpose of fees, considering such         written proposals or demands, which shall supersede all prior
factors as whether the entities or individuals are represented        proposals. The revised written proposals shall be provided
by the same attorney and whether the entities or individuals          to JAMS, which shall promptly provide them to the Arbitrator,
are presenting joint or separate positions at the Arbitration.        unless the Parties agree otherwise.

                                                                      (b) If the Arbitrator has been informed of the written proposals,
RULE 32                                                               in rendering the Award, the Arbitrator shall choose between
Bracketed (or High-Low)                                               the Parties’ last proposals, selecting the proposal that the
                                                                      Arbitrator finds most reasonable and appropriate in light of the
Arbitration Option                                                    standard set forth in Rule 24(c). This provision modifies Rule
(a) At any time before the issuance of the Arbitration Award,         24(h) in that no written statement of reasons shall accompany
the Parties may agree, in writing, on minimum and maximum             the Award.
amounts of damages that may be awarded on each claim or
on all claims in the aggregate. The Parties shall promptly notify     (c) If the Arbitrator has not been informed of the written
JAMS and provide to JAMS a copy of their written agreement            proposals, the Arbitrator shall render the Award as if pursuant
setting forth the agreed-upon minimum and maximum                     to Rule 24, except that the Award shall thereafter be corrected
amounts.                                                              to conform to the closest of the last proposals and the closest
                                                                      of the last proposals will become the Award.
(b) JAMS shall not inform the Arbitrator of the agreement to
proceed with this option or of the agreed-upon minimum and            (d) Other than as provided herein, the provisions of Rule 24
maximum levels without the consent of the Parties.                    shall be applicable.

(c) The Arbitrator shall render the Award in accordance with          RULE 34
Rule 24.
                                                                      Optional Arbitration Appeal Procedure
(d) In the event that the Award of the Arbitrator is between          The Parties may agree at any time to the JAMS Optional
the agreed-upon minimum and maximum amounts, the Award                Arbitration Appeal Procedure. All Parties must agree in
shall become final as is. In the event that the Award is below        writing for such procedures to be effective. Once a Party has
the agreed-upon minimum amount, the final Award issued shall          agreed to the Optional Arbitration Appeal Procedure, it cannot
be corrected to reflect the agreed-upon minimum amount. In            unilaterally withdraw from it, unless it withdraws, pursuant to
the event that the Award is above the agreed-upon maximum             Rule 13, from the Arbitration.
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                          jamsadr.com • 800.352.5267
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                     EXHIBIT B
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                      Demand for Arbitration Form
                      Instructions for Submittal of Arbitration to JAMS


INSTRUCTIONS
Please submit this form to your local JAMS Resolution Center. Once the below items                               1-800-352-JAMS
are received, a JAMS professional will contact all parties to commence and coordinate                            www.jamsadr.com
the arbitration process, including the appointment of an arbitrator and scheduling a
hearing date.




If you wish to proceed with an arbitration by executing and serving a Demand for Arbitration on the appropriate
party, please submit the following items to JAMS with the requested number of copies:

  A. Demand for Arbitration (2 copies)

  B. Proof of service of the Demand on the appropriate party (2 copies)

  C. Entire contract containing the arbitration clause (2 copies)
       •    To the extent there are any court orders or stipulations relevant to this arbitration demand, e.g. an order com- pelling
            arbitration, please also include two copies.

  D. Administrative Fees
       •  For two-party matters, the Filing Fee is $2,000. For matters involving three or more parties, the filing fee is $3,500.
          The entire Filing Fee must be paid in full to expedite the commencement of the proceedings. Thereafter, a Case
          Management Fee of 13% will be assessed against all Professional Fees, including time spent for hearings, pre- and post-
          hearing reading and research and award preparation. JAMS also charges a $2,000 filing fee for counterclaims. For
          matters involving consumers, the consumer is only required to pay $250. See JAMS Policy on Consumer Arbitrations
          Pursuant to Pre-Dispute Clauses. For matters based on a clause or agreement that is required as a condition of
          employment, the employee is only required to pay $400. See JAMS Policy on Employment Arbitrations, Minimum
          Standards of Fairness. JAMS may apply its Employment Minimum Standards where an individual claims to
             have been misclassified as an independent contractor or otherwise improperly placed into a category
             other than employee or applicant for employment.

        •    A refund of $1000 will be issued if the matter is withdrawn within five days of filing. After five days, the filing fee is
             non-refundable.




                             Once completed, please submit to your local JAMS Resolution Center.
                  Resolution Center locations can be found on the JAMS website at: http://www.jamsadr.com/locations/.




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                                   Demand for Arbitration Form (continued)
                                   Instructions for Submittal of Arbitration to JAMS

TO RESPONDENT (PARTY ON WHOM DEMAND FOR ARBITRATION IS MADE)                                           Add more respondents on page 6.

      RESPONDENT
      NAME


      ADDRESS



      CI T Y                                                             STATE                   ZIP



      PHONE                                       FAX                    EMAIL


RESPONDENT’S REPRESENTATIVE OR ATTORNEY (IF KNOWN)

      R E P R E S E N TAT I V E / AT T ORNEY


      FIRM/
      COMPANY


      ADDRESS



      CITY                                                                STATE                  ZIP



      PHONE                                       FAX                     EMAIL




FROM CLAIMANT                                                                                            Add more claimants on page 7.

      CL A I M A N T
      NA M E


      ADDRESS



      CITY                                                                STATE                  ZIP



      PHONE                                       FAX                     EMAIL


CLAIMANT’S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
      R E P R E S E N TAT I V E / AT T ORNEY


      FIRM/
      COMPANY


      ADDRESS



      CITY                                                                STATE                  ZIP



      PHONE                                       FAX                     EMAIL




JAMS Demand for Arbitration Form                                                                                          Page 2 of 7
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                          Demand for Arbitration Form (continued)
                          Instructions for Submittal of Arbitration to JAMS

MEDIATION IN ADVANCE OF THE ARBITRATION
             If mediation in advance of the arbitration is desired, please check here and a JAMS Case Manager will assist the
             parties in coordinating a mediation session.


NATURE OF DISPUTE / CLAIMS & RELIEF SOUGHT BY CLAIMANT
     CL A I M A N T H E R E B Y D E MANDS THAT YOU SUBM IT THE FOLLOWING DISPUTE TO FINAL AND BINDING ARBITRATION.
     A M O R E D E TA I L E D S TATEM ENT OF CLAIM S M AY BE ATTACHED IF NEEDED.




                                                                  AMOUNT IN CONTROVERSY (US DOLLARS)




JAMS Demand for Arbitration Form                                                                                                        Page 3 of 7
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                                        Demand for Arbitration Form (continued)
                                        Instructions for Submittal of Arbitration to JAMS

ARBITRATION AGREEMENT
This demand is made pursuant to the arbitration agreement which the parties made as follows. Please cite location of arbitra-
tion provision and attach two copies of entire agreement.

     A R B I T R AT I O N P R O V I S I ON LOCATION




RESPONSE
The respondent may file a response and counter-claim to the above-stated claim according to the applicable
arbitration rules. Send the original response and counter-claim to the claimant at the address stated above with
two copies to JAMS.


REQUEST FOR HEARING
     R E Q U E S T E D L O C AT I O N
               REQUESTED RESOLUTION CENTER




ELECTION FOR EXPEDITED PROCEDURES (IF COMPREHENSIVE RULES APPLY)
See: Comprehensive Rule 16.1

                  By checking the box to the left, Claimant requests that the Expedited Procedures described in JAMS Compre-
                  hensive Rules 16.1 and 16.2 be applied in this matter. Respondent shall indicate not later than seven (7) days
                  from the date this Demand is served whether it agrees to the Expedited Procedures.


SUBMISSION INFORMATION
     S I G N AT U R E                                                                         DATE



     NAME
     (PRINT/TYPED)




JAMS Demand for Arbitration Form                                                                                           Page 4 of 7
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                      Demand for Arbitration Form (continued)
                      Instructions for Submittal of Arbitration to JAMS

                   Completion of this section is required for all consumer or employment claims.

CONSUMER AND EMPLOYMENT ARBITRATION
Please indicate if this is a CONSUMER ARBITRATION. For purposes of this designation, and whether this case will be ad-
ministered in California or elsewhere, JAMS is guided by California Rules of Court Ethics Standards for Neutral Arbitrators,
Standard 2(d) and (e), as defined below, and the JAMS Consumer and Employment Minimum Standards of Procedural Fair-
ness:

             YES, this is a CONSUMER ARBITRATION.


             NO, this is not a CONSUMER ARBITRATION.

“Consumer arbitration” means an arbitration conducted under a pre-dispute arbitration provision contained in a contract that
meets the criteria listed in paragraphs (1) through (3) below. “Consumer arbitration” excludes arbitration proceedings conduct-
ed under or arising out of public or private sector labor-relations laws, regulations, charter provisions, ordinances, statutes, or
agreements.

        1.   The contract is with a consumer party, as defined in these standards;
        2.   The contract was drafted by or on behalf of the non-consumer party; and
        3.   The consumer party was required to accept the arbitration provision in the contract.

“Consumer party” is a party to an arbitration agreement who, in the context of that arbitration agreement, is any of the follow-
ing:

        1.   An individual who seeks or acquires, including by lease, any goods or services primarily for personal, family, or
             household purposes including, but not limited to, financial services, insurance, and other goods and services as
             defined in section 1761 of the Civil Code;
        2.   An individual who is an enrollee, a subscriber, or insured in a health-care service plan within the meaning of sec-
             tion 1345 of the Health and Safety Code or health-care insurance plan within the meaning of section 106 of the
             Insurance Code;
        3.   An individual with a medical malpractice claim that is subject to the arbitration agreement; or
        4.   An employee or an applicant for employment in a dispute arising out of or relating to the employee’s employment
             or the applicant’s prospective employment that is subject to the arbitration agreement.

NOTE: JAMS is guided by its Consumer Minimum Standards and Employment Minimum Standards when determining whether
a matter is a consumer matter. In addition, JAMS may treat a matter as a consumer matter and apply the Employment
Minimum Standards where an individual claims to have been misclassified as an independent contractor or otherwise
improperly placed into a category other than employee or applicant for employment.




EMPLOYMENT MATTERS
If this is an EMPLOYMENT matter, Claimant must complete the following information:

Private arbitration companies are required to collect and publish certain information at least quarterly, and make it available
to the public in a computer-searchable format. In employment cases, this includes the amount of the employee’s annual wage.
The employee’s name will not appear in the database, but the employer’s name will be published. Please check the applicable
box below:



             Less than $100,000         $100,000 to $250,000         More than $250,000         Decline to State




WAIVER OF ARBITRATION FEES
In certain states (e.g. California), the law provides that consumers (as defined above) with a gross monthly income of less
than 300% of the federal poverty guidelines are entitled to a waiver of the arbitration fees. In those cases, the respondent
must pay 100% of the fees. Consumers must submit a declaration under oath stating the consumer’s monthly income and the
number of persons living in his or her household. Please contact JAMS at 1-800-352-5267 for further information. Note: this
requirement is not applicable in all states.



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                                  Demand for Arbitration Form (continued)
                                  Instructions for Submittal of Arbitration to JAMS

RESPONDENT #2 (PARTY ON WHOM DEMAND FOR ARBITRATION IS MADE)
      RE S P O N D E N T
      NA M E


      ADDRESS



      CITY                                                              STATE                   ZIP



      PH O N E                                   FAX                    EMAIL


RESPONDENT’S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
     RE P R E S E N TAT I V E / AT T O RNEY


      FIRM/
      CO M P A N Y


      ADDRESS



      CITY                                                               STATE                  ZIP



      PHONE                                      FAX                     EMAIL




RESPONDENT #3 (PARTY ON WHOM DEMAND FOR ARBITRATION IS MADE)
     RE S P O N D E N T
     NA M E


     ADDRESS



     CI T Y                                                              STATE                  ZIP



     PH O N E                                    FAX                     EMAIL


RESPONDENT’S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
     RE P R E S E N TAT I V E / AT T O RNEY


     FIRM/
     CO M P A N Y


     ADDRESS



     CITY                                                                STATE                  ZIP



     PHONE                                       FAX                     EMAIL




JAMS Demand for Arbitration Form                                                                                  Page 6 of 7
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                                   Demand for Arbitration Form (continued)
                                   Instructions for Submittal of Arbitration to JAMS

CLAIMANT #2
      CLAIMANT
      NAME


      ADDRESS



      CITY                                                                STATE                  ZIP



      PH O N E                                    FAX                     EMAIL


CLAIMANT’S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
      RE P R E S E N TAT I V E / AT T ORNEY


      FIRM/
      COMPANY


      ADDRESS



      CITY                                                                STATE                  ZIP



      PHONE                                       FAX                     EMAIL




CLAIMANT #3
      CL A I M A N T
      NA M E


      ADDRESS



      CI T Y                                                              STATE                  ZIP



      PH O N E                                    FAX                     EMAIL


CLAIMANT’S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
      RE P R E S E N TAT I V E / AT T O RNEY


      FIRM/
      CO M P A N Y


      ADDRESS



      CITY                                                                STATE                  ZIP



      PHONE                                       FAX                     EMAIL




JAMS Demand for Arbitration Form                                                                               Page 7 of 7
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 1                           CERTIFICATE OF SERVICE

 2        The undersigned hereby certifies that on November 14, 2023, I

 3 electronically filed the foregoing with the Clerk of the Court using the CM/ECF

 4 system, which will send notification of such filing to all CM/ECF participants.

 5                                               s/ Monica Brennan
                                                 Monica Brennan, Legal Secretary
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     DECLARATION OF ERIC MECKLEY                                     MORGAN, LEWIS & BOCKIUS LLP
                                                                            Attorneys at Law
     ISO DEFENDANT'S MOTION TO
21   COMPEL ARBITRATION
                                                                      1301 Second Ave., Suite 2800
                                                                           Seattle, WA 98101
                                                                            +1.206.274.6400

22
